
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-09-00061-CV


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IN RE:  JEFFREY DALE MAYNARD









                                                                                                                                                             


Original Mandamus Proceeding









                                                                                                                                                             
                          



Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley








MEMORANDUM  OPINION



	In his petition for mandamus relief, Jeffrey Dale Maynard has petitioned this Court to order
the Honorable Robert Newsom, judge of the 8th Judicial District Court of Hopkins County, to "cease
and desist the removal, and/or ordered removal, of funds from his inmate trust fund account for the
purpose of paying fines and court costs, and, to immediately return all such funds removed and/or
ordered removed to date."  We deny the requested relief.  

	Maynard has alleged that funds have been removed from his inmate trust account without
his having been served or provided with any garnishment order or other order authorizing such
action.  A trial court may order the attachment of an inmate's trust fund monies as payment for that
inmate's court costs, fines, fees, restitution, and other obligations.  Tex. Gov't Code Ann. §&nbsp;501.014
(Vernon 2004).  However, "Texas courts have long recognized that prisoners have a property interest
in their inmate trust accounts."  Harrell v. State, No. 07-0806, 2009 Tex. LEXIS 321, at *9 (Tex.
June 5, 2009); Abdullah v. State, 211 S.W.3d 938, 943 (Tex. App.--Texarkana 2007, no pet.).   

	Although an inmate is entitled to notice of the State's attachment of the inmate's trust funds
and a chance to appeal that taking, the "Constitution does not require pre-withdrawal notice or a
comprehensive civil garnishment proceeding."  Harrell, 2009 Tex. LEXIS 321, at *15. 

	Maynard has supplied us with no record of the proceedings in the trial court, but the
respondent, Judge Newsom, has provided copies of the trial court's judgment and an order to
withdraw inmate trust funds with his response.  Both of these documents were entered September&nbsp;8,
2008, and each bears Maynard's signature.  These documents reveal that Maynard was shown a copy
of and made fully aware of the order for withdrawal of inmate trust funds.   

	Maynard having received all the notice to which he was entitled for the State's attachment
of funds in his trust fund account, he has not established any right to mandamus relief. (1)  A challenge
to an order withholding or attaching an inmate's trust funds should be by direct appeal, not by a
petition for writ of mandamus.  Id. at *14.   

	We deny Maynard's request for mandamus relief. 



						Bailey C. Moseley

						Justice


Date Submitted:	July 8, 2009

Date Decided:		July 9, 2009


1. We grant the extraordinary relief of mandamus only when the trial court has clearly abused
its discretion and the relator lacks an adequate appellate remedy.  In re Team Rocket, L.P., 256
S.W.3d 257 (Tex. 2008).

